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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

NICOLE JENNINGS WADE,                              :
JONATHAN D. GRUNBERG, and                          :
G. TAYLOR WILSON,                                  :
                                                   :
       Plaintiffs,                                 :
                                                   :
       vs.                                         :         CASE NO: 1:22-cv-01073-AT
                                                   :
L. LIN WOOD,                                       :
                                                   :
       Defendant.                                  :


                                      MOTION TO STAY


       COMES NOW, GEORGIA FARM BUREAU MUTUAL INSURANCE COMPANY

(“GFB”), Interested Party in the above-captioned case, and hereby files this Motion for Stay of

Proceedings, respectfully showing this Court as follows:

                                              1.

       GFB is the Plaintiff in a declaratory judgment action filed against Plaintiffs Nicole Jennings

Wade, Jonathan D. Grunberg, G. Taylor Wilson, and Defendant L. Lin Wood designated as Civil

Action File No. 2022CV365689 in the Superior Court of Fulton County, Georgia.

                                              2.

       The purpose of the declaratory judgment action is to determine GFB’s rights and

obligations under the policies of insurance issued to Defendant L. Lin Wood with respect to the

allegations raised by Nicole Jennings Wade, Jonathan D. Grunberg, G. Taylor Wilson in the

present action.




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                                            3.

       In the present case, GFB is providing a defense to Defendant L. Lin Wood pursuant to a

reservation of rights.

                                            4.

       GFB hereby respectfully requests this Court stay the proceedings in Civil Action No. Civ.

Action 1:22-cv-01073-AT, Nicole Jennings Wade, Jonathan D. Grunberg, and G. Taylor Wilson

v. L. Lin Wood until the time that the Fulton County Superior Court has an opportunity to rule on

GFB’s declaratory judgment action. Otherwise, GFB will be in a position of having to continue

providing a defense to Defendant L. Lin Wood and incurring costs associated therewith until it is

determined as a matter of law whether GFB has an obligation to do so.

       WHEREFORE, for the within and foregoing reasons, GFB respectfully requests this

Court stay the proceedings in Civil Action No. Civ. Action 1:22-cv-01073-AT until the Fulton

County Superior Court rules on GFB’s declaratory judgment action designated as Civil Action File

No. 2022CV365689.


       Respectfully submitted this 7th day of June, 2022.



                               [Signature to follow on next page]




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                                    /s/ Duke R. Groover
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                               CERTIFICATE OF SERVICE

       This is to certify that I have this date served a copy of the foregoing Motion for Stay by

depositing a copy of the same in the United States Mail, postage prepaid, and properly addressed

to ensure delivery to:


                                        Andrew M. Beal
                                        Milinda Brown
                                      Buckley Beal LLP
                                   600 Peachtree Street, N.E.
                                          Suite 3900
                                      Atlanta, GA 30308
                                     Attorney for Plaintiffs

                                        Chris Harrison
                                  Downey & Cleveland, LLP
                                288 Washington Avenue, 30060
                                         Marietta, GA
                                    Attorney for Defendant


       Respectfully submitted this 7th day of June, 2022.

                                                /s/ Duke R. Groover
                                                DUKE R. GROOVER
                                                Georgia Bar No. 313225
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